            Case 18-10065-whd                         Doc 3          Filed 01/12/18 Entered 01/12/18 15:38:49                           Desc Main
                                                                     Document      Page 1 of 1
 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF GEORGIA

 Case number (if known):




Official Form 121
Statement About Your Social Security Numbers                                                                                                             12/15

Use this form to tell the court about any Social Security or federal Individual Taxpayer Identification numbers you have used. Do not file this
form as part of the public case file. This form must be submitted separately and must not be included in the court’s public electronic records.
Please consult local court procedures for submission requirements.

To protect your privacy, the court will not make this form available to the public. You should not include a full Social Security Number or
Individual Taxpayer Number on any other document filed with the court. The court will make only the last four digits of your numbers known
to the public. However, the full numbers will be available to your creditors, the U.S. Trustee or bankruptcy administrator, and the trustee
assigned to your case.

Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in
fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 Part 1: Tell the Court About Yourself and Your spouse if Your Spouse is Filing With You
                            For Debtor 1:                                        For Debtor 2 (Only if Spouse is Filing:)

 1.    Your name                    Brent                                                        Deanna
                                    First name                                                   First name
                                    Anton                                                        Michelle
                                    Middle name                                                  Middle name
                                    Mathis                                                       Gray
                                    Last name                                                    Last name

 Part 2: Tell the Court About all of Your Social Security or Federal Individual Taxpayer Identification Numbers


 2.    All Social Security
       Numbers you have
       used                         XXX-XX-XXXX                                                  XXX-XX-XXXX

                                        You do not have a Social Security Number                   You do not have a Social Security Number

 3.    All federal Individual
       Taxpayer
       Identification
       Numbers (ITIN) you
       have used
                                        You do not have an ITIN.                                   You do not have an ITIN.

 Part 3: Sign Below

                                    Under penalty of perjury, I declare that the information I     Under penalty of perjury, I declare that the information I
                                    have provided in this form is true and correct.                have provided in this form is true and correct.

                                    X    /s/ Brent Anton Mathis                                    X    /s/ Deanna Michelle Gray
                                         Brent Anton Mathis                                             Deanna Michelle Gray
                                         Signature of Debtor 1                                          Signature of Debtor 2

                                         Date     January 12, 2018                                      Date   January 12, 2018




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